                                  UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TENNESSEE
                                     CHATTANOOGA DIVISION

       TERPSEHORE MARAS,                            )
                                                    )
                   Plaintiff,                       )              1:21-CV-00317-DCLC
                                                    )
             vs.                                    )
                                                    )
       THE HUFFINGTON POST, INC., et al.;           )
                                                    )
                   Defendants.                      )
                                                    )


                                              ORDER


            This matter is before the Court on Defendant Rodney Eldridge’s1 motion to dismiss for

   lack of personal jurisdiction pursuant to Federal Rule of Civil Procedure 12(b)(2) [Doc. 20].

   Plaintiff had already voluntarily dismissed Rodney Eldridge/Ross Elder from the case [Doc. 11].

   Therefore, the motion [Doc. 20] is DENIED AS MOOT.


            SO ORDERED:



                                               s/Clifton L. Corker
                                               United States District Judge




   1
         Defendant Eldridge notes that the Complaint identifies him as “Ross Elder,” but that is a
   pseudonym for his real name, “Rodney Eldridge.” [Doc. 20, pg. 1]


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